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      Attorneys for Plaintiff,
5     REFUGIO RIVERA
6
                             IN THE UNITED STATES DISTRICT COURT
7                              CENTRAL DISTRICT OF CALIFORNIA
                                       WESTERN DIVISION
8

9
      REFUGIO RIVERA,                   ) Case No.: 2:15-9163
10                                      )
                                        ) NOTICE OF SETTLEMENT
11              Plaintiff,              )
                                        )
12        v.                            )
                                        )
13                                      )
      WHEELS FINANCIAL GROUP, LLC d/b/a )
14    LOANMART,                         )
                                        )
15                                      )
                Defendant.              )
16

17
             NOW COMES Plaintiff, REFUGIO RIVERA, through her attorneys, WESTGATE LAW,
18
      and hereby notifies this Court that a settlement of the present matter has been reached and is in the
19
      process of finalizing settlement, which Plaintiff anticipates will be finalized within the next sixty
20
      (60) days.
21
             Plaintiff therefore respectfully requests this Honorable Court vacate all dates currently
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      scheduled for the present matter.
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                                           NOTICE OF SETTLEMENT
                                                    -1-
     Case 2:15-cv-09163-BRO-GJS Document 12 Filed 01/19/16 Page 2 of 2 Page ID #:38




1                                                  RESPECTFULLY SUBMITTED,

2
       DATED: January 19, 2016                     WESTGATE LAW
3

4                                         By: /s/ Matthew A. Rosenthal
                                                  Matthew A. Rosenthal
5                                                 Attorney for Plaintiff
6

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9
                                       CERTIFICATE OF SERVICE
10
        I hereby certify that on January 19, 2016, I filed the forgoing document with the Clerk of the
11
      Court using the CM/ECF System. I further certify that on January 19, 2016, a copy of the forgoing
12
      was served upon Defendant via email transmission to the following:
13

14    Anni Vartanian
      Staff Attorney
15    Wheels Financial Group, LLC
      dba LoanMart
16    15821 Ventura Blvd., Suite 280
      Encino, California 91436
17
                                                 By:/s/ Matthew A. Rosenthal
18
                                                        Matthew A. Rosenthal
19

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                                          NOTICE OF SETTLEMENT
                                                   -2-
